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               EXHIBIT A




 
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                                                                                                  US007598083B2


(12) United States Patent                                                       (10) Patent N0.:                  US 7,598,083 B2
       Epstein et al.                                                           (45) Date of Patent:                           Oct. 6, 2009

(54)    CHEMICALLY DEFINED MEDIA                                            Franék, F. and Sramkova, K. “Cell Suicide in Starving Hybridoma
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                                                                            Primary ExamineriLora E Bamhart
EP               0485689               10/2001                              (74) Attorney, Agent, or FirmiKirk Baumeister
W0           WO 03/00423 A1             1/1993
W0           WO 98/08934 A1             3/1998                              (57)                       ABSTRACT
W0          W0 03/046162 A2             6/2003

                    OTHER PUBLICATIONS
                                                                            Chemically de?ned media compositions for the culture of
Kovar, J and Franék, F, Serum-free Medium for Hybridoma and                 eukaryotic cells are disclosed. The compositions are useful
Parental Myeloma Cell Cultivation: a Novel Composition of Growth            for eukaryotic cell culture in perfusion bioreactors and other
supporting Substances, Immunol. Lett., vol. 7, (1984), pp. 339-345.         vessels.
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vol. 45, (1995), pp. 86-90.                                                                  11 Claims, 3 Drawing Sheets
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                                                   Fig. 1




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                                                                                  Fig. 2




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       —O— Antibody                                           —— D —— Harvest Ab                                        —O— Specific Ab Productivity
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                                                                       Fig. 3




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                                                                Elapsed Time (days)

                                                        —-I— Glucase, g/L ——<>—Lactate, g/L
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                               1                                                                     2
              CHEMICALLY DEFINED MEDIA                                        BRIEF DESCRIPTION OF THE DRAWINGS
                   COMPOSITIONS
                                                                          FIG. 1. Eukaryotic cell viability in MET 1.5 cell culture
              CROSS REFERENCE TO RELATED                                media.
                     APPLICATIONS                                         FIG. 2. Antibody titer and speci?c productivity in MET 1.5
                                                                        cell culture media.
  This application claims the bene?t of US. Provisional                    FIG. 3. Decreased lactate production in MET 1.5 cell cul
Application No. 60/623,718, ?led 29 Oct. 2004, the entire               ture media.
contents of Which is incorporated herein by reference.
                                                                                      SUMMARY OF THE INVENTION
                FIELD OF THE INVENTION
                                                                          One aspect of the invention is a soluble composition, suit
  The present invention relates to chemically de?ned media              able for producing a cell culture media, Wherein the media
compositions for the culture of eukaryotic cells.                       comprises the folloWing components in the folloWing
          BACKGROUND OF THE INVENTION                                   amounts per liter:
                                                                        anhydrous CaCl2, 5-200 mg;
  Contamination of conventional eukaryotic cell culture                 anhydrous MgCl2, 15-50 mg;
media With “adventitious particles” such as bacterial, virus or         anhydrous MgSO4, 20-80 mg;
prion particles is a serious potential problem in the industrial        FeSO4.7H2O, 0.05-0.50 mg;
preparation of biopharmaceuticals such as antibodies or            20   Fe(NO3)3.9H2O, 0.01-0.08 mg;
therapeutic proteins. Such contaminants in a biopharmaceu               ZnSO4.7H2O, 0.40-1.20 mg;
tical are capable of causing patient infections and disease and         ferric ammonium citrate, 004-200 mg;
may limit yields due to increased metabolic burdens on the              KCl, 280-500 mg;
host productioncell line.                                               NaCl, 5000-7500 mg;
   Variant CreutZfeldt-Jakob disease (vCJD) is one example         25   NaH2PO4iH2O, 30-100 mg;
of a patient disease that could be caused by adventitious               Na2HPO4, 30-100 mg;
particle contamination. This disease is prion mediated in               CuSO4.5H2O, 0.001-0.005 mg;
humans and is characteriZed by fatal neurodegeneration.                 CoCl2.6H2O, 0.001-0.10 mg;
vCJD has been strongly linked With exposure to the Bovine               (NH4)6Mo7O24 4H2O, 0.001-0.005 mg;
Spongiform Encephalopathy (BSE) prion Which causes fatal,          30   MnSO4iH2O, 0.000070-0.0080 mg;
neurodegenerative “Mad CoW Disease” in cattle.                          NiSO4.6H2O, 0.000025-0.0005 mg;
  Adventitious particle contamination of conventional                   Na2SeO3, 0.004-0.07 mg;
eukaryotic cell culture media can result from the incorpora             Na2SiO3.9H2O, 0.02-0.4 mg;
tion of animal-derived components and protein growth fac                SnCl2.2H2O, 0.000025-0.0005 mg;
tors into conventional media. Such contamination can occur 35           NH4VO3, 00001-00025 mg;
When animal-derived media components are harvested from                 D-Glucose, 500-8000 mg;
an animal harboring disease-causing bacteria, viruses, or pri           sodium pyruvate, 0.0-1000 mg;
ons. For example, bovine serum harvested from a coW With                sodium hypoxanthine, 00-200 mg;
BSE may be contaminated With prions capable of causing                  glycine, 00-150 mg;
human vCJD. The ultimate result of such adventitious par           40   L-alanine, 00-150 mg;
ticle contamination can be the contamination of eukaryotic              L-arginine.HCl, 200-5000 mg;
cell cultures and the biopharmaceuticals prepared from such             L-asparagine.H2O, 40-250 mg;
cultures.                                                               L-aspar‘tic acid, 20-1000 mg;
   Adventitious particle contamination can be avoided by                L-cysteine.HCl H2O, 250-250 mg;
culturing eukaryotic cells in animal component free cell cul       45   L-cystine.2HCl, 15-150 mg;
ture media. Ideally, such media are “chemically de?ned” such            L-glutamic acid, 0-1000 mg;
that the media compositions contain only knoWn chemical                 L-histidine.HCl.H2O, 100-500 mg;
compounds, and are free of all proteins4even those not of               L-isoleucine, 50-1000 mg;
animal origin such as recombinant proteins.                             L-leucine, 50-1000 mg;
  Chemically de?ned media compositions optimal for pro             50   L-lysine.HCl, 100-1000 mg;
duction of biopharmaceuticals, such as antibodies, must sat             L-methionine, 50-500 mg;
isfy several different criteria. First, such compositions must          L-omithine.HCl, 0-100 mg;
limit eukaryotic cell damage resulting from shear forces and            L-phenylalanine, 25-1000 mg;
other cell-damaging processes that occur in the bioreactor              L-proline, 0-1000 mg;
vessels typically used for biopharmaceutical production. Sec       55   L-serine, 50-500 mg;
ond, such compositions must enable eukaryotic cell cultures             L-taurine, 0-1000 mg;
to have high viable cell densities (i.e., number viable cells/ml        L-threonine, 50-600 mg;
media) and high percentages of viable cells. Third, such com            L-tryptophan, 2-500 mg;
positions must permit high titers of secreted biopharmaceu              L-tyrosine.2Na.2H2O, 25-250 mg;
tical products (i.e., antibody mg/L media) and high speci?c        60   L-valine, 100-1000 mg;
productivities (i.e., pg antibody/viable cell/day). Lastly, such        d-biotin, 0.04-1.0 mg;
compositions must limit the production of lactic acid by cul            D-calcium pantothenate, 0.1-5.0 mg;
tured eukaryotic cells to permit the most e?icient cellular use         choline chloride, 1-100 mg;
of glucose.                                                             folic acid, 1-10 mg;
   Thus, a need exists for chemically de?ned media compo           65   i-Inositol, 10-1000 mg;
sitions Which satisfy these criteria and are optimiZed forbiop          nicotinamide, 05-30 mg;
harmaceutical production.                                               p-aminobenZoic acid, 01-20 mg;
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ribo?avin, 0.05-5.0 mg;                                               thymidine, 0.316 mg;
thiamine.HCl, 05-20 mg;                                               vitamin B12, 0.5887 mg;
thymidine, 0-3.0 mg;                                                  linoleic acid, 0.0364 mg;
vitamin B12, 0.05-5.0 mg;                                             DL-ot-lipoic acid, 0.0909 mg;
linoleic acid, 0.01-2.0 mg;                                           pyridoxine.HCl, 3.0442 mg;
DL-ot-lipoic acid, 0.03-1.0 mg;                                       putrescine.2HCl, 0.0701 mg; and
pyridoxine.HCl, 05-30 mg;                                             ethanolamine.HCl, 14.37 mg.
putrescine.2HCl, 0.025-0.25 mg; and                                     The invention also provides compositions comprising cell
ethanolamine.HCl, 2-100 mg.                                           culture media Which can be made from the soluble composi
   Another aspect of the invention is a soluble composition,          tions of the invention.
suitable for producing a cell culture media, Wherein the media
comprises the folloWing components in the folloWing                      DETAILED DESCRIPTION OF THE INVENTION
amounts per liter:
CaCl2, 100.95 mg;                                                       All publications, including but not limited to patents and
MgCl2, 24.77 mg;                                                      patent applications, cited in this speci?cation are herein
MgSO4, 42.24 mg;                                                      incorporated by reference as though fully set forth.
FeSO4.7H2O, 0.3607 mg;                                                  The term “buffering molecule” as used herein and in the
Fe(NO3)3.9H2O, 0.0432 mg;                                             claims means a molecule that has a buffering range suitable
ZnSO4.7H2O, 0.6225 mg;                                                for maintaining a pH betWeen 5.9 and 7.8.
ferric ammonium citrate, 43.25 mg;                               20     The term “pKa” as used herein and in the claims means the
KCl, 386.9 mg;                                                        negative logarithm of the acid dissociation constant (Ka) of a
NaCl, 5866.0 mg;                                                      buffering molecule in an aqueous solution. pKa is, in part, a
NaH2PO4iH2O, 54.07 mg;                                                function of the temperature of the aqueous solution in Which
Na2HPO4, 61.44 mg;                                                    a buffering molecule is solubiliZed.
CuSO4.5H2O, 0.003287 mg;                                         25     The term “cell protectant” as used herein and in the claims
CoCl2.6H2O, 0.0020606 mg;                                             means a substance that protects eukaryotic cells from dam
(NH4)6Mo7O24.4H2O, 0.000535 mg;                                       age. Such damage may be caused, for example, by shear
MnSO4.H2O, 0.00008571 mg;                                             forces or the effects of gas bubble sparging in a bioreactor
NiSO4.6H2O, 0.0000514 mg;                                             vessel.
Na2SeO3, 0.007489 mg;                                            30      The present invention provides chemically de?ned compo
Na2SiO3.9H2O, 0.03671 mg;                                             sitions useful in the culture of eukaryotic cells. Such eukary
SnCl2.2H2O, 0.0000488 mg;                                             otic cells may have insect, avian, mammalian, or other ori
NH4VO3, 0.0002530 mg;                                                 gins. These cells may secrete a protein, such as an antibody, or
D-Glucose, 3680.52 mg;                                                produce other useful products or results. These proteins,
sodium pyruvate, 100 mg;                                         35   products, or results may be constituatively produced by a cell
sodium hypoxanthine, 2.069 mg;                                        or produced as the result of transfection With a nucleic acid
glycine, 16.23 mg;                                                    sequence. The cells may be cultured in liquid media as sus
L-alanine, 79.31 mg;                                                  pension cultures or as adherent cultures. Cells may also be
L-arginine.HCl, 674.89 mg;                                            cultured by suspension in semi-solid media comprising the
L-asparagine.H2O, 182.25 mg;                                     40   compositions of the invention.
L-aspartic acid, 67.23 mg;                                              Cells may be cultured in a variety of vessels including, for
L-cysteine.HCl.H2O, 57.63 mg;                                         example, perfusion bioreactors, cell bags, culture plates,
L-cystine.2HCl, 106.70 mg;                                            ?asks and other vessels Well knoWn to those of ordinary skill
L-glutamic acid, 6.36 mg;                                             in the art. Ambient conditions suitable for cell culture, such as
L-histidine.HCl.H2O, 250.55 mg;                                  45   temperature and atmospheric composition, are also Well
L-isoleucine, 245.43 mg;                                              knoWn to those skilled in the art. Methods for the culture of
L-leucine, 263.42 mg;                                                 cells are also Well knoWn to those skilled in the art.
L-lysine.HCl, 276.41 mg;                                                 The compositions of the invention are particularly useful in
L-methionine, 85.40 mg;                                               the culture of mammalian cells. Examples of mammalian
L-ornithine.HCl, 2.44 mg;                                        50   cells include myeloma derived cells, non-immortalized cells
L-phenylalanine, 104.23 mg;                                           of the B cell lineage, and immortalized cells of the B cell
L-proline, 14.94 mg;                                                  lineage such as hybridomas. Examples of myeloma derived
L-serine, 146.36 mg;                                                  cell lines include the SP2/0 (American Type Culture Collec
L-taurine, 3.64 mg;                                                   tion (ATCC), Manasas, Va., CRL-1581), NSO (European
L-threonine, 199.09 mg;                                          55   Collection of Cell Cultures (ECACC), Salisbury, Wiltshire,
L-tryptophan, 70.71 mg;                                               UK, ECACC No. 85110503), FO (ATCC CRL-1646), and
L-tyrosine.2Na.2H2O, 195.58 mg;                                       Ag653 (ATCC CRL-1580) cell lines Which Were obtained
L-valine, 174.34 mg;                                                  from mice. The C743B cell line is an example of a SP2/0
d-biotin, 0.4359 mg;                                                  derived cell line that produces a fully human, anti-IL-12 mAb
D-calcium pantothenate, 1.9394 mg;                               60   as the result of stable transfection. TheYB2/0 cell line (ATCC
choline chloride, 10.8009 mg;                                         CRL-1662) is an example of a myeloma derived cell line
folic acid, 3.4329 mg;                                                obtained from rats (Rallus norvegicus). An example of a
i-inositol, 81.7965 mg;                                               myeloma derived cell line obtained from humans is the U266
nicotinamide, 3.1342 mg;                                              cell line (ATTC CRL-TIB-196). Some myeloma derived cell
p-aminobenZoic acid, 2.1645 mg;                                  65   lines, such as NSO, YB2/0, and Ag653 cells and related cell
ribo?avin, 0.5359 mg;                                                 lines may require chemically de?ned lipid concentrates or
thiamine.HCl, 2.3377 mg;                                              other supplements for successful culture. Those skilled in the
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                              5                                                                   6
art Will recognize other myeloma cell lines and myeloma            putrescine.2HCl, 0.025-0.25 mg; and
derived cell lines as Well as any supplements required for the     ethanolamine.HCl, 2-100 mg.
successful culture of such cells.
                                                                 This type of soluble composition has been named “MET” and
   In one aspect the invention provides a soluble composition,
                                                                 typically is a poWder.
suitable for producing a cell culture media, Wherein the media 5
                                                                    In another aspect the invention provides a soluble compo
comprises the following components in the folloWing                sition, suitable for producing a cell culture media, Wherein the
amounts per liter:
                                                                   media comprises the folloWing components in the folloWing
anhydrous CaCl2, 5-200 mg;                                         amounts per liter:
anhydrous MgCl2, 15-50 mg;
anhydrous MgSO4, 20-80 mg;                                       CaCl2, 100.95 mg;
                                                                 MgCl2, 24.77 mg;
FeSO4.7H2O, 0.05-0.50 mg;                                        MgSO4, 42.24 mg;
Fe(NO3)3.9H2O, 0.01-0.08 mg;
                                                                 FeSO4.7H2O, 0.3607 mg;
ZnSO4.7H2O, 0.40-1.20 mg;
ferric ammonium citrate, 0.04-200 mg;                            Fe(NO3)3.9H2O, 0.0432 mg;
KCl, 280-500 mg;                                              15
                                                                 ZnSO4.7H2O, 0.6225 mg;
                                                                   ferric ammonium citrate, 43.25 mg;
NaCl, 5000-7500 mg;
                                                                   KCl, 386.9 mg;
NaH2PO4.H2O, 30-100 mg;                                            NaCl, 5866.0 mg;
Na2HPO4, 30-100 mg;
CuSO4.5H2O, 0.001-0.005 mg;                                        NaH2PO4.H2O, 54.07 mg;
                                                                   Na2HPO4, 61.44 mg;
CoCl2.6H2O, 0.001-0.10 mg;                                    20
                                                                   CuSO4.5H2O, 0.003287 mg;
(NH4)6Mo7O24 4H2O, 0.001-0.005 mg;                                 CoCl2.6H2O, 0.0020606 mg;
MnSO4.H2O, 0.000070-0.0080 mg;
NiSO4.6H2O, 0.000025-0.0005 mg;                                    (NH4)6Mo7O24.4H2O, 0.000535 mg;
                                                                   MnSO4.H2O, 0.00008571 mg;
Na2SeO3, 0.004-0.07 mg;
                                                                   NiSO4.6H2O, 0.0000514 mg;
Na2SiO3.9H2O, 0.02-0.4 mg;                                    25
                                                                   Na2SeO3, 0.007489 mg;
SnCl2.2H2O, 0.000025-0.0005 mg;
NH4VO3, 00001-00025 mg;                                            Na2SiO3.9H2O, 0.03671 mg;
D-Glucose, 500-8000 mg;                                            SnCl2.2H2O, 0.0000488 mg;
sodium pyruvate, 0.0-1000 mg;                                      NH4VO3, 0.0002530 mg;
sodium hypoxanthine, 00-200 mg;                               30
                                                                   D-Glucose, 3680.52 mg;
                                                                   sodium pyruvate, 100 mg;
glycine, 0.0-150 mg;
                                                                   sodium hypoxanthine, 2.069 mg;
L-alanine, 0.0-150 mg;                                             glycine, 16.23 mg;
L-arginine.HCl, 200-5000 mg;
L-asparagine.H2O, 40-250 mg;                                       L-alanine, 79.31 mg;
                                                                   L-arginineHCl, 674.89 mg;
L-aspartic acid, 20-1000 mg;                                  35
                                                                   L-asparagine.H2O, 182.25 mg;
L-cysteine.HCl H2O, 25.0-250 mg;
L-cystine.2HCl, 15-150 mg;                                         L-aspartic acid, 67.23 mg;
                                                                   L-cysteine.HCl.H2O, 57.63 mg;
L-glutamic acid, 0-1000 mg;                                        L-cystine.2HCl, 106.70 mg;
L-histidine.HCl.H2O, 100-500 mg;                                   L-glutamic acid, 6.36 mg;
L-isoleucine, 50-1000 mg;                                     40
L-leucine, 50-1000 mg;                                             L-histidine.HCl.H2O, 250.55 mg;
L-lysine.HCl, 100-1000 mg;                                         L-isoleucine, 245.43 mg;
                                                                   L-leucine, 263.42 mg;
L-methionine, 50-500 mg;                                           L-lysine-HCl, 276.41 mg;
L-ornithineHCl, 0-100 mg;
L-phenylalanine, 25-1000 mg;                                  45
                                                                   L-methionine, 85.40 mg;
L-proline, 0-1000 mg;                                              L-omithine-HCl, 2.44 mg;
                                                                   L-phenylalanine, 104.23 mg;
L-serine, 50-500 mg;                                               L-proline, 14.94 mg;
L-taurine, 0-1000 mg;                                              L-serine, 146.36 mg;
L-threonine, 50-600 mg;                                            L-taurine, 3.64 mg;
L-tryptophan, 2-500 mg;                                       50
                                                                   L-threonine, 199.09 mg;
L-tyrosine-2Na-2H2O, 25-250 mg;                                    L-tryptophan, 70.71 mg;
L-valine, 100-1000 mg;                                             L-tyrosine.2Na.2H2O, 195.58 mg;
d-biotin, 0.04-1.0 mg;                                             L-valine, 174.34 mg;
D-calcium pantothenate, 0.1-5.0 mg; choline chloride, 1-100        d-biotin, 0.4359 mg;
                                                              55
  mg;                                                              D-calcium pantothenate, 1.9394 mg;
folic acid, 1-10 mg;                                               choline chloride, 10.8009 mg;
i-lnositol, 10-1000 mg;                                            folic acid, 3.4329 mg;
nicotinamide, 0.5-30 mg;                                           i-inositol, 81.7965 mg;
p-aminobenZoic acid, 0.1-20 mg;                               60   nicotinamide, 3.1342 mg;
ribo?avin, 0.05-5.0 mg;                                            p-aminobenZoic acid, 2.1645 mg;
thiamine.HCl, 0.5-20 mg;                                           ribo?avin, 0.5359 mg;
thymidine, 0-3.0 mg;                                               thiamine.HCl, 2.3377 mg;
vitamin B12, 0.05-5.0 mg;                                          thymidine, 0.316 mg;
linoleic acid, 0.01-2.0 mg;                                   65   vitamin B12, 0.5887 mg;
DL-ot-lipoic acid, 0.03-1.0 mg;                                    linoleic acid, 0.0364 mg;
pyridoXine.HCl, 0.5-30 mg;                                         DL-ot-lipoic acid, 0.0909 mg;
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pyridoxine.HCl, 3.0442 mg;                                               composition that is the product of this process has been
putrescine.2HCl, 0.0701 mg; and                                          named “MET media.” Typically MET media is a liquid
ethanolamine.HCl, 14.37 mg.                                              media.
                                                                            In another embodiment the invention provides a composi
This soluble composition has been named “MET 1.5” and                    tion comprising a cell culture media made by the steps com
typically is a powder.                                                   prising selecting a ?nal media volume; providing a soluble
  In one embodiment the soluble MET and MET 1.5 com                      MET1.5 composition, solubiliZing the soluble composition
positions of the invention comprise a buffering molecule With            in a volume of Water less than the ?nal media volume, adding
a pKa of betWeen 5.9 and 7.8; and a cell protectant. Examples            1 .022 g of L-glutamine per liter of ?nal media volume, adding
of buffering molecules With a pKa of betWeen 5.9 and 7.8                 a bicarbonate ion providing substance suf?cient to a produce
include MOPS (pKa 7.20 at 25° C.; pKa 7.02 at 37° C.), TES               a bicarbonate ion concentration of betWeen 0.020 M and
(2-[tris (hydroxymothyl) methyl] amino ethanesulphonic                   0.030 M in the ?nal media volume, optionally adding at least
acid; pKa 7.40 at 25° C.; pKa 7.16 at 37° C.), and imidaZole             one substance selected from the group consisting of myco
(pKa 6.95 at 25° C.). Examples of cell protectants are non               phenolic acid, hypoxanthine, xanthine or soy hydrosylate,
ionic surfactants such as Pluronic-F68, polyvinyl alcohol                adding a quantity of base suf?cient to adjust the pH of the
(PVA), polyethylene glycol (PEG), and dextran sulfate.                   solution to betWeen pH 5.9 and pH 7.8, and adding Water
Those skilled in the art Will recognize other buffering mol              suf?cient to bring the volume of the composition to the
ecules With a pKa of betWeen 5.9 and 7.8 and cell protectants.           selected ?nal media volume. In this embodiment of the inven
   In another embodiment of the soluble MET compositions                 tion the media composition that is the product of this process
of the invention the buffering molecule consists of MOPS in         20   has been named “MET 1.5 media.” Typically MET 1.5 media
the amount of 1047-5230 mg per liter of media volume, and                is a liquid media.
the cell protectant consists of Pluronic-F68 in the amount of              In one embodiment of the invention the bicarbonate ion
250-1500 mg per liter of media volume.                                   providing substance su?icient to a produce a bicarbonate ion
  In another embodiment of the soluble MET1.5 composi                    concentration of betWeen 0.020 M and 0.030 M in the ?nal
tions of the invention the buffering molecule consists of           25   media volume is 2.1 g of NaHCO3 per liter of ?nal media
MOPS in the amount of 2709.66 mg per liter of media vol                  volume. Adding this amount of NaHCO3 per liter of ?nal
ume, and the cell protectant consists of Pluronic-F68 in the             media volume produces a bicarbonate ion concentration of
amount of 865.80 mg per liter of media volume.                           0.025 M in the ?nal media volume.
   The soluble compositions of the invention may be prepared               In one embodiment of the invention MET 1.5 media com
in a variety of forms. It is preferred that the soluble compo       30   prises the folloWing components added in the folloWing
sitions of the invention are prepared in the form of a poWder.           amounts per liter:
The poWdered forms of the soluble compositions of the inven              0.5 mg mycophenolic acid;
tion are suitable for cell culture for at least 3 years from the         2.5 mg hypoxanthine; and
date the soluble composition is prepared. The soluble com                50 mg xanthine.
positions of the invention may also be prepared, for example,       35     The MET media and MET 1.5 media compositions of the
in the form of one or more pellets or tablets.                           invention are typically provided to cells as a liquid media. The
   The soluble compositions of the invention can be solubi               pH of the MET media and MET 1.5 media compositions of
liZed in Water. Typically, the Water used to solubiliZe the              the invention is betWeenpH 5 .9 andpH 7.8. The pH of a liquid
soluble compositions of the invention has a resistivity of 18.2          is a function of the temperature of the liquid. It is preferred
MQ-cm at 25° C., a total organic content of less than 20 ppb,       40   that the pH of each media composition be betWeen 7.1 and
a total microorganism content of less than 10 colony forming             7.25 at the temperature at Which eukaryotic cell culture is
units per ml, a total heavy metal content of less than 0.01 ppm,         being performed. Eukaryotic cell culture may be performed at
a total silicates content of less than 0.01 ppb, and a total             temperatures higher or loWer than 37° C., but is typically
dissolved solids content of less than 0.03 ppm. Water With               performed at 37° C.
these properties can be prepared using a Super-QTM Plus             45      In some applications liquid MET media and liquid MET
Water Puri?cation System (Millipore Corp., Billerica, Mass.,             1.5 media may be used in the preparation of semi-solid cell
USA). The Water used to solubiliZe the soluble compositions              culture media. For example, methylcellulose may be used to
of the invention may also be ?ltered through a ?lter suitable            generate a semi-solid media incorporating the liquid MET
for the removal of microorganisms. A ?lter With a 0.22 uM                media and liquid MET 1.5 media compositions of the inven
pore siZe is an example of such a ?lter. Microorganisms and         50   tion. Such semi-solid media may be prepared by methods
other adventitious particles may also be removed or inacti               Well knoWn to those skilled in the art. Eukaryotic cells may be
vated by other means Well knoWn in the art.                              suspended in such semi-solid media and cultured by methods
  In one embodiment the invention provides a composition                 Well knoWn to those skilled in the art.
comprising a cell culture media made by the steps comprising               Other substances that can enhance cell groWth or produc
selecting a ?nal media volume, providing a soluble MET              55   tivity may also be added to the soluble MET, MET media,
composition, solubiliZing the soluble composition in a vol               soluble MET 1.5 and MET 1.5 media compositions of the
ume of Water less than the ?nal media volume, adding 1.022               invention. These substances may be lipids, nucleosides, pep
g of L-glutamine per liter of ?nal media volume, adding a                tide chains, corticosteroids, steroids, and the like. Such sub
bicarbonate ion providing substance suf?cient to a produce a             stance may be, for example:
bicarbonate ion concentration of betWeen 0.020 M and 0.030          60   adenosine preferably 0-20 uM;
M in the ?nal media volume, optionally adding at least one               guanosine preferably 0-20 uM;
substance selected from the group consisting of mycophe                  cytidine preferably 0-20 uM;
nolic acid, hypoxanthine, xanthine, or soy hydrosylate, add              uridine preferably 0-20 uM;
ing a quantity of base suf?cient to adjust the pH of the solution        deoxyadenosine preferably 0-20 uM;
to betWeen pH 5.9 and pH 7.8, and adding Water suf?cient to         65   deoxyguanosine preferably 0-20 uM;
bring the volume of the composition to the selected ?nal                 deoxycytidine preferably 0-20 uM;
media volume. In this embodiment of the invention the media              thymidine preferably 0-20 uM;
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dexamethasone preferably 10-150 nM;                                    into the bioreactor vessel. Data presented in Example 1, 2,
hydrocortisone preferably 0-150 uM;                                    and 3 are all from the same bioreactor run.
L-glycine-L-Lysine-L-glycine (GKG) peptide chain prefer
  ably 0-200 um;                                                                               EXAMPLE 2
N-acetyl cysteine preferably 0-500 mg/ L;
betaine preferably 0-500 mg/L;                                            Antibody Titer and Speci?c Productivity in MET 1.5
L-malic acid preferably 0-500 mg/ L;                                                        Cell Culture Media
oxaloacetic acid preferably 0-500 mg/ L;
                                                                         Chemically de?ned MET 1 .5 cell culture media can sustain
glycyrrhiZic acid preferably 0-500 mg/L;
glycyrrhiZic acid ammonium salt preferably 0-500 mg/ L;
                                                                       high monoclonal antibody titers and speci?c productivity
                                                                       (FIG. 2). Cell culture and bioreactor operation Was as
ot-ketoglutarate preferably 0-500 mg/L;                                described above. Fully human, anti-lL-12 mAb titers (mg/ L)
L-leucine preferably 245-490 mg/L;                                     Were determined by standard nephelometry techniques using
L-isoleucine preferably 220-440 mg/ L;                                 a Beckman Array AnalyZer. A puri?ed fully human, anti-IL
L-lysine-HCl preferably 187-360 mg/L;                                  12 mAb of knoWn concentration Was used to generate a
L-valine preferably 155-310 mg/ L;                                     standard curve for the determination of mAb titers by
L-methionine preferably 57-114 mg/ L;                                  nephelometry. Viable cell numbers for calculation of speci?c
L-phenylalanine preferably 76-152 mg/ L;                               productivity Were determined as described above. Data pre
L-serine preferably 37-74 mg/L;                                        sented in Example 1, 2, and 3 are all from the same bioreactor
L-threonine preferably 107-214 mg/L;                              20 run.
L-arginine.HCl preferably 200-300 mg/ L;
L-asparagine preferably 114-170 mg/L;                                                          EXAMPLE 3
L-aspartic acid (10-25 mg/L);
L-cysteine.HCl.H2O preferably 46-75 mg/L;                                     Decreased Lactate Production in MET 1.5 Cell
Histidine.HCl.H2O preferably 75-150 mg/L;                         25                         Culture Media
L-tyrosine preferably 40-80 mg/L;
L-tryptophan preferably 41-82 mg/ L;                                     Lactate concentrations in MET 1.5 media decrease (FIG.
nicotinamide preferably 09-18 mg/ L; and                               3) as viable cell density increases (FIG. 1). Cell culture and
                                                                       bioreactor operation Was as described above. Lactate concen
ethanolamine HCl preferably 14-20 mg/ L.
                                                                  30   trations and glucose concentrations in the bioreactor culture
The quantities of each substance added to the compositions of          media Were determined using standard assays. Data pre
the invention are those necessary to achieve the preferred             sented in Example 1, 2, and 3 are all from the same bioreactor
molar concentration or mass per unit media volume prepared             run.
shoWn above.                                                             As FIG. 3 indicates, lactate concentrations in MET 1.5
  The present invention is further described With reference to    35   media gradually decreased until day 16 When biomass
the following examples. These examples are merely to illus             removal to decrease total cell density in the bioreactor began.
trate various aspects of the present invention and are not             During the same period glucose concentrations remained
intended as limitations of this invention.                             comparatively constant (FIG. 3). Comparison of FIG. 3 to
                                                                       FIG. 1 reveals that viable C743B cell numbers in the same
                        EXAMPLE 1                                 40   bioreactor Were increasing until day 16. Together this data
                                                                       indicates a decrease in lactate production by C743B cells
     Eukaryotic Cell Viability in MET 1.5 Cell Culture                 cultured in MET 1.5 media and more e?icient metabolism of
                            Media                                      D-glucose by cells cultured in MET 1.5 media.
                                                                         The present invention noW being fully described, it Will be
  Chemically de?ned MET 1 .5 cell culture media can sustain       45   apparent to one of ordinary skill in the art that many changes
high cell growth and viability (FIG. 1). To examine viable cell        and modi?cations can be made thereto Without departing
numbers, MET 1.5 media Was supplied to 3 L perfusion                   from the spirit or scope of the appended claims.
bioreactors. Bioreactors Were then inoculated With C743B                 The invention claimed is:
cells such that the initial cell density Was 3><106 cells/ml of          1. A soluble composition, suitable for producing a ?nal
MET 1.5 media. The C743B cell line produces a fully human,        50   volume of cell culture media, Wherein the composition com
anti-lL-12 mAb and is a chemically adapted cell line derived           prises the folloWing components in the folloWing amounts per
from SP2/0 myeloma cells. C743B cells Were groWn for 29                liter of the ?nal volume of cell culture media:
days in the bioreactor and viable cell densities Were moni               anhydrous CaCl2, 5-200 mg;
tored. Cell culture media Was neutraliZed With a 0.2 M                   anhydrous MgCl2, 15-50 mg;
Na2CO3 (aq) solution for the ?rst 9 days of culture and With      55     anhydrous MgSO4, 20-80 mg;
0.2 MNa2CO3, 0.0054 M KZCO3 (aq). Excessive cell density                 FeSO4.7H2O, 0.05-0.50 mg;
in the bioreactor Was prevented by the removed of biomass                Fe(NO3)3.9H2O, 0.01-0.08 mg;
from the bioreactor; cell removal began on day 15 and Was                ZnSO4.7H2O, 0.40-1.20 mg;
gradually increased until day 26. The bioreactor Was perfused            ferric ammonium citrate, 0.04-200 mg;
With one volume of MET 1.5 media per day. Viable cell             60     KCl, 280-500 mg;
numbers Were determined via a standard trypan blue dye                   NaCl, 5000-7500 mg;
exclusion assay using a CEDEX cell counter (lnnovatis AG,                NaH2PO4.H2O, 30-100 mg;
Bielefeld, Del.). Total cell numbers for calculation of the              Na2HPO4, 30-100 mg;
percentage of viable cells Were determined With the CEDEX                CuSO4.5H2O, 0.001-0.005 mg;
instrument. For each determination the CEDEX instrument           65     CoCl2.6H2O, 0.001-0.10 mg;
Was used according to the manufacturer’ s instructions. 02 and           (NH4)6Mo7O24 4H2O, 0.001-0.005 mg;
CO2 Were supplied to the bioreactor as a gas stream sparged              MnSO4.H2O, 0.000070-0.0080 mg;
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  NiSO4.6H2O, 0.000025-0.0005 mg;                                      f) optionally adding at least one substance selected from
  Na2SeO3, 0.004-0.07 mg;                                                 the group consisting of mycophenolic acid, hypoxan
  Na2SiO3.9H2O, 0.02-0.4 mg;                                              thine, xanthine, and soy hydrolysate;
  SnCl2.2H2O, 0.000025-0.0005 mg;                                      g) adding a quantity of base suf?cient to adjust the pH of
  NH4VO3, 0.0001-0.0025 mg;                                               the solution to betWeen pH 5.9 and pH 7.8; and
  D-Glucose, 500-8000 mg;                                              h) adding Water su?icient to bring the volume of the com
  sodium pyruvate, 0.0-1000 mg;                                           position to the selected ?nal media volume.
  sodium hypoxanthine, 00-200 mg;                                      5. The composition of claim 4 Where the bicarbonate ion
  glycine, 0.0-150 mg;                                               providing substance su?icient to a produce a bicarbonate ion
  L-alanine, 0.0-150 mg;                                             concentration of betWeen 0.020 M and 0.030 M in the ?nal
  L-arginine.HCl, 200-5000 mg;                                       media volume is 2.1 g of NaHCO3 per liter of ?nal media
  L-asparagine.H2O, 40-250 mg;                                       volume.
  L-aspartic acid, 20-1000 mg;                                         6. A soluble composition, suitable for producing a ?nal
  L-cysteine.HCl H2O, 25.0-250 mg;                                   volume of cell culture media, Wherein the composition com
  L-cystine.2HCl, 15-150 mg;                                         prises the folloWing components in the folloWing amounts per
  L-glutamic acid, 0-1000 mg;                                        liter of the ?nal volume of cell culture media:
  L-histidine.HCl.H2O, 100-500 mg;                                     CaCl2, 100.95 mg;
  L-isoleucine, 50-1000 mg;                                            MgCl2, 24.77 mg;
  L-leucine, 50-1000 mg;                                               MgSO4, 42.24 mg;
  L-lysine.HCl, 100-1000 mg;                                    20     FeSO4.7H2O, 0.3607 mg;
  L-methionine, 50-500 mg;                                             Fe(NO3)3.9H2O, 0.0432 mg;
  L-omithine.HCl, 0-100 mg;                                            ZnSO4.7H2O, 0.6225 mg;
  L-phenylalanine, 25-1000 mg;                                         ferric ammonium citrate, 43.25 mg;
  L-proline, 0-1000 mg;                                                KCl, 386.9 mg;
                                                                25     NaCl, 5866.0 mg;
  L-serine, 50-500 mg;
                                                                       NaH2PO4.H2O, 54.07 mg;
  L-taurine, 0-1000 mg;                                                Na2HPO4, 61.44 mg;
  L-threonine, 50-600 mg;                                              CuSO4.5H2O, 0.003287 mg;
  L-tryptophan, 2-500 mg;                                              CoCl2.6H2O, 0.0020606 mg;
  L-tyrosine.2Na.2H2O, 25-250 mg;                               30     (NH4)6Mo7O24.4H2O, 0.000535 mg;
  L-valine, 100-1000 mg;                                               MnSO4.H2O, 0.00008571 mg;
  d-biotin, 0.04-1.0 mg;                                               NiSO4.6H2O, 0.0000514 mg;
  D-calcium pantothenate, 0.1-5.0 mg;                                  Na2SeO3, 0.007489 mg;
  choline chloride, 1-100 mg;                                          Na2SiO3.9H2O, 0.03671 mg;
  folic acid, 1-10 mg;                                          35     SnCl2.2H2O, 0.0000488 mg;
  i-lnositol, 10-1000 mg;                                              NH4VO3, 0.0002530 mg;
  nicotinamide, 0.5-30 mg;                                             D-Glucose, 3680.52 mg;
  p-aminobenZoic acid, 0.1-20 mg;                                      sodium pyruvate, 100 mg;
  ribo?avin, 0.05-5.0 mg;                                              sodium hypoxanthine, 2.069 mg;
  thiamine.HCl, 0.5-20 mg;                                      40     glycine, 16.23 mg;
  thymidine, 0-3.0 mg;                                                 L-alanine, 79.31 mg;
  vitamin B12, 0.05-5.0 mg;                                            L-arginine.HCl, 674.89 mg;
  linoleic acid, 0.01-2.0 mg;                                          L-asparagine.H2O, 182.25 mg;
  DL-ot-lipoic acid, 0.03-1.0 mg;                                      L-aspartic acid, 67.23 mg;
                                                                45     L-cysteine.HCl.H2O, 57.63 mg;
  pyridoxine.HCl, 0.5-30 mg;
                                                                       L-cystine.2HCl, 106.70 mg;
  putrescine.2HCl, 0.025-0.25 mg; and                                  L-glutamic acid, 6.36 mg;
  ethanolamine.HCl, 2-100 mg.                                          L-histidine.HCl.H2O, 250.55 mg;
   2. The soluble composition of claim 1 further comprising a          L-isoleucine, 245.43 mg;
buffering molecule With a pKa between 5 .9 and 7.8 and a cell   50     L-leucine, 263.42 mg;
protectant.                                                            L-lysine.HCl, 276.41 mg;
   3. The soluble composition of claim 2 Wherein the buffer            L-methionine, 85.40 mg;
ing molecule consists of MOPS in the amount of 1047-5230               L-ornithine.HCl, 2.44 mg;
mg per liter of ?nal media volume and the cell protectant              L-phenylalanine, 104.23 mg;
consists of Pluronic-F68 in the amount of 250-1500 mg per       55     L-proline, 14.94 mg;
liter of ?nal media volume.                                            L-serine, 146.36 mg;
   4. A composition comprising a cell culture media made by            L-taurine, 3.64 mg;
the steps comprising:                                                  L-threonine, 199.09 mg;
  a) selecting a ?nal media volume;                                    L-tryptophan, 70.71 mg;
  b) providing the soluble composition of claim 2 or claim 3;   60     L-tyrosine.2Na.2H2O, 195.58 mg;
  c) solubiliZing the soluble composition in a volume of               L-valine, 174.34 mg;
     Water less than the ?nal media volume;                            d-biotin, 0.4359 mg;
  d) adding 1.022 g of L-glutamine per liter of ?nal media             D-calcium pantothenate, 1.9394 mg;
     volume;                                                           choline chloride, 10.8009 mg;
  e) adding a bicarbonate ion providing substance suf?cient     65     folic acid, 3.4329 mg;
     to produce a bicarbonate ion concentration of betWeen             i-inositol, 81.7965 mg;
     0.020 M and 0.030 M in the ?nal media volume;                     nicotinamide, 3.1342 mg;
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  p-aminobenZoic acid, 2.1645 mg;                                         1 0. A composition comprising a cell culture media made by
                                                                        the steps comprising:
  thiamine.HCl, 2.3377 mg;                                                a) selecting a ?nal media volume;
  thymidine, 0.316 mg;                                                    b) providing the soluble composition of claim 7 or claim 8;
  vitamin B12, 0.5887 mg;                                                 c) solubiliZing the soluble composition in a volume of
  linoleic acid, 0.0364 mg;                                                  Water less than the ?nal media volume;
  DL-ot-lipoic acid, 0.0909 mg;                                           d) adding 1.022 g of L-glutamine per liter of ?nal media
  pyridoxine.HCl, 3.0442 mg;                                                 volume;
  putrescine.2HCl, 0.0701 mg; and                                         e) adding a bicarbonate ion providing substance suf?cient
                                                                             to produce a bicarbonate ion concentration of betWeen
  ethanolamine.HCl, 14.37 mg.
  7. The soluble composition of claim 6 further comprising a                 0.020 M and 0.030 M in the ?nal media volume;
buffering molecule With a pKa of between 5.9 and 7.8 and a
                                                                          1) optionally adding at least one substance selected from
cell protectant.                                                             the group consisting of mycophenolic acid, hypoxan
   8. The soluble composition of claim 7 Wherein the buffer
                                                                             thine, Xanthine and soy hydrolysate;
                                                                          g) adding a quantity of base suf?cient to adjust the pH of
ing molecule consists of MOPS in the amount of 2709.66 mg
                                                                             the solution to betWeen pH 5.9 and pH 7.8; and
per liter of ?nal media volume, and the cell protectant consists
                                                                          h) adding Water su?icient to bring the volume of the com
of Pluronic-F68 in the amount of 865.80 mg per liter of ?nal
                                                                             position to the selected ?nal media volume.
media volume.
                                                                          11. The composition of claim 10 Where the bicarbonate ion
   9. The soluble composition of claim 7 further comprising        20   providing substance su?icient to a produce a bicarbonate ion
the folloWing components in the folloWing amounts per liter             concentration of betWeen 0.020 M and 0.030 M in the ?nal
of ?nal media volume:
                                                                        media volume is 2.1 g of NaHCO3 per liter of ?nal media
  0.5 mg mycophenolic acid;                                             volume.
  2.5 mg hypoxanthine; and
  50 mg xanthine.
